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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

Jacqueline Baron                                                                       6:16-CV-1424
                                                                      Civil Action No: ____________
                                         Plaintiff,                                    (MAD/ATB)
                                                                                 COMPLAINT




       -v.-
AllianceOne Receivables Management, Inc.

                                      Defendant.

Plaintiff Jacqueline Baron ("Plaintiff" or "Baron"), by and through her attorneys, RC Law Group,

PLLC, as and for its Complaint against Defendant Alliance One Receivables Management, Inc.

("Defendant" or "AllianceOne”), respectfully sets forth, complains and alleges, upon information

and belief, the following:



                      INTRODUCTION/PRELIMINARY STATEMENT

       1.      Plaintiff brings this action for damages and declaratory and injunctive relief arising

   from the Defendant's violation(s) of section 1692 et. seq. of Title 15 of the United States Code,

   commonly referred to as the Fair Debt Collections Practices Act (“FDCPA”).



                                            PARTIES

       2.      Plaintiff is a resident of the State of New York, County of Herkimer, residing at 10

   3rd Street, Ilion, NY 13357.

       3.      Defendant is a debt collector with an address at 4850 E. Street Road, Suite 300,

   Trevose, PA 19053.
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   4.      AllianceOne Receivables Management, Inc. is a "debt collector" as the phrase is

defined in 15 U.S.C. § 1692(a)(6) and used in the FDCPA.



                             JURISDICTION AND VENUE

   5.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as well as

15 U.S.C. § 1692 et. seq. and 28 U.S.C. § 2201. If applicable, the Court also has pendant

jurisdiction over the State law claims in this action pursuant to 28 U.S.C. § 1367(a).

   6.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).



                              FACTUAL ALLEGATIONS

   7.      Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state herein with the same force and effect as if the same were set forth at length

herein.

   8.      On information and belief, on a date better known to Defendant, Defendant began

collection activities on an alleged consumer debt (the “Alleged Debt”) from the Plaintiff.

   9.      This debt was incurred as a financial obligation that was primarily for personal,

family or household purposes and is therefore a “debt” as that term is defined by 15 U.S.C.

§ 1692a(5).

   10.     The reporting of a debt to a credit reporting agency by a debt collector is a

communication covered by the FDCPA.

   11.     Defendant reported the Alleged Debt on the Plaintiff’s credit report.

   12.     Plaintiff disputed the Alleged Debt directly with the Defendant with a dispute letter

on December 8, 2015.
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   13.     Plaintiff examined her credit report again on January 22, 2016 and found that

Defendant had not removed the credit account nor marked it as ''disputed by consumer'' despite

being required to do so by the FDCPA.

   14.     As a result of Defendant's deceptive, misleading and unfair debt collection

practices, Plaintiff has been damaged.


                              FIRST CAUSE OF ACTION
                               (Violations of the FDCPA)

   15.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state herein with the same force and effect as if the same were set forth at length

herein.

   16.     Defendant's debt collection efforts attempted and/or directed towards Plaintiff

violate various provisions of the FDCPA, including but not limited to 15 U.S.C. §§ 1692d,

1692e(2), 1692e(5), 1692e(8),1692e(10) and 1692f.

   17.     As a result of the Defendant's violations of the FDCPA, Plaintiff has been damaged

and is entitled to damages in accordance with the FDCPA.
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                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff Jacqueline Baron demands judgment from the Defendant AllianceOne

Receivables Management, Inc., as follows:

       a)     For actual damages provided and pursuant to 15 U.S.C. § 1692k(a)1);

       b)     For statutory damages provided and pursuant to 15 U.S.C. § 1692k(a)(2)(A);

       c)     For attorney fees and costs provided and pursuant to 15 U.S.C. § 1692k(a)(3);

       d)     A declaration that the Defendants practices violated the FDCPA; and

       e)     For any such other and further relief, as well as further costs, expenses and

              disbursements of this action as this Court may deem just and proper.


Dated: Hackensack, New Jersey
       December 1, 2016

                                                           /s/ Daniel Kohn
                                                    RC Law Group, PLLC
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